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VIA EMAIL

December 1, 2017

Harris County Voter Registrar
P.O. Box 3527
Houston, TX 77253-3527
Email: voters@hctx.net

RE: NVRA public disclosure request

Dear Disclosure Officer(s):

I am writing to request inspection or copies of records related to your office’s voter list
maintenance obligations under the National Voter Registration Act of 1993 (NVRA).

The National Voter Registration Act of 1993, 52 U.S.C. § 20501 et seq., requires your office to
make available for public inspection “all records concerning the implementation of programs and
activities conducted for the purpose of ensuring the accuracy and currency of official lists of
eligible voters.” 52 U.S.C. § 20507(i).

Pursuant to Section 20507(i) of NVRA, I request that your office reproduce or provide the
opportunity to inspect the following:

   1. Documents regarding all registrants who were identified as potentially not satisfying the
      citizenship requirements for registration from any official information source, including
      information obtained from the various agencies within the U.S. Department of Homeland
      Security, Texas Department of Public Safety, and from the Texas Secretary of State since
      January 1, 2006. This request extends to all documents that provide the name of the
      registrant, the voting history of such registrant, the nature and content of any notice sent
      to the registrant, including the date of the notice, the response (if any) of the registrant,
      and actions taken regarding the registrant’s registration (if any) and the date of the action.
      This request extends to electronic records capable of compilation.

   2. All documents and records of communication received by your office from registered
      voters, legal counsel, claimed relatives, or other agents since January 1, 2006 requesting a
      removal or cancellation from the voter roll for any reason related to non-U.S.
      citizenship/ineligibility. Please include any official records indicating maintenance
      actions undertaken thereafter.

   3. All documents and records of communication received by your office from jury selection
      officials—state and federal--since January 1, 2006 referencing individuals who claimed
      to be non-U.S. citizens when attempting to avoid serving a duty call. This request seeks
      copies of the official referrals and documents indicating where your office matched a

                   32 E. Washington Street, Suite 1675, Indianapolis, Indiana 46204
                Telephone: 317.203.5599 Fax: 888.815.5641 PublicInterestLegal.org
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        claim of noncitizenship to an existing registered voter and extends to the communications
        and maintenance actions taken as a result that were memorialized in any written form.

   4. All communications regarding your list maintenance activities relating to #1 through 3
      above to the District Attorney, Texas Attorney General, Texas State Troopers/DPS, any
      other state law enforcement agencies, the United States Attorney’s office, or the Federal
      Bureau of Investigation.

Understanding that federal file retention laws may impact some disclosures, an optimal grouping
of documents presented per registered voter disclosed would contain the following:

       The completed voter application form (redacted where necessary to prevent disclosures
        of claimed Social Security number and signature);

       Referral documents/transmissions for new or updated voter registration applications
        provided by state agencies charged with National Voter Registration Act (Motor Voter)
        duties;

       Records indicating the “voter profile” or “voter view” or similar feature provided within
        your statewide voter registration system database program which details all information
        kept per voter, to include but is not limited to:
           o Full name on file (including previous names)
           o Date of birth
           o Voter ID number
           o Voter registration date (including previous dates of registration)
           o Date of last maintenance/update action
           o Reason code(s) for previous maintenance action(s)
           o County of registration
           o Detailed address information history (residential and mailing)
           o Political party designation history (if claimed/recorded)
           o Registration method history (e.g. self, NVRA agency transaction, third-party, etc.)
           o Assigned voting districts history
           o Election participation history in full
           o All internal memoranda stored within each “profile”

       All letters, postcards, and other mailings sent from your office to the voter in question
        with notations for types of postage or method of delivery indicated where possible;

       All letters, emails, logged phone calls, documents, and other communications from the
        voter in question to your office—including those communications from legal counsel or
        claimed relatives on their behalf—that is either affirmatively sent by the voter or in
        response to a mailing received by your office or other official entity;

       All documents your office may receive from federal entities to include but are not limited
        to the U.S. Department of Homeland Security/USCIS detailing inquiries regarding




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        registered voters in your county and your responses given;

       All documents your office may generate upon request to the voter or federal agency
        concerned with immigration matters for the purpose of detailing a registration status
        history and voting history;

       All documents and communications between your office and the registered voter in
        question with respect to pending immigration matters; and

       Any documents sent by your office to the voter to require that an affirmation of
        citizenship or noncitizenship be given in writing with responses included, where
        applicable.

I will contact your office in a few days to arrange a convenient time to conduct the inspection. If
I do not hear from you, representatives of the Foundation will come to your office by December
18 to conduct the inspection of these requested list maintenance records.

If you wish to dispense with a public inspection and provide copies of these records instead,
please send them to following address:

                       32 E. Washington Street
                       Suite 1675
                       Indianapolis, IN 46204

This is your first notice that if you fail to make these records available for public inspection, you
will be in violation of the NVRA and subject to an action to enforce the public records
provisions of the NVRA. The statute provides for an award of attorney’s fees.

Should you need to contact me regarding this request, please contact me via letter at the above
address, or via email at lchurchwell@publicinterestlegal.org.

Thank you for your service on this matter.


Sincerely,




Logan Churchwell
Communications & Research Director
Public Interest Legal Foundation
lchurchwell@publicinterestlegal.org




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